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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                        7/3/2024

UNITED STATES OF AMERICA,
                                                      14 Cr. 716 (VM)

                                                      ORDER
                  - against -

VIJAYGIRI GOSWAMI,

                         Defendant.


VICTOR MARRERO, United States District Judge.

     The   Court    is   in   receipt     of   the   letter     motion      from

defendant Vijaygiri Goswami (“Defendant”),                   dated July 1,

2024, requesting that the Court issue an order directing

Hudson   County     Correctional      Facility       to     ensure   that    he

promptly receives adequate medical evaluation and treatment

for his condition.

     Defendant is hereby directed to provide medical records

of his treatment at the Hudson County Correctional Facility,

and the Government is directed to respond to Defendant’s

request within five (5) days of the entry of this Order.

Defendant’s letter motion and any subsequent correspondence

on this issue shall be filed under seal, with redacted copies

filed on the public docket.

SO ORDERED.

Dated:     3 July 2024
           New York, New York




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